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                                                                    December 10, 2020
VIA email:

Honorable John Milton Younge
United States District Judge
U.S. District Court
Room 4007
601 Market Street
Philadelphia, Pennsylvania 19106

       RE:     Lewis v. Account Resolution Services, LLC
               Case Number: 2:20-cv-3159

Dear Judge Younge:

        I represent Plaintiff Yarisa Lewis in this matter. Plaintiff hereby respectfully
request the Court grant an extension of the deadline to respond to ARS Account Resolution
Services’ Motion to Quash service. Plaintiff respectfully requests an extension of time to
respond until December 29, 2020. This motion, served the day before Thanksgiving,
requires investigation into the facts of the service, which require more time. Plaintiff has
conferred with counsel for ARS Account Resolution Services, who does not oppose this
request.

       For this reason, Plaintiff respectfully requests an extension of time to oppose the
motion until December 29, 2020. Thank you for your attention to this matter.

                                             Respectfully submitted,


                                                     /s/ Nicholas Linker
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